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                          IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION
__________________________________________
                                               )
J.O.P., et al.,                                )
                                               )
                 Plaintiffs,                   )
                                               )
        v.                                     ) Case No. 8:19-cv-01944-SAG
                                               )
U.S. DEPARTMENT OF HOMELAND                    )
SECURITY, et al.                               )
                                               )
                 Defendants.                   )
__________________________________________)

       DEFENDANTS’ RESPONSE TO THE COURT’S ORDER OF MAY 20, 2025
       Pursuant to this Court’s May 20, 2025, Order directing Defendants to file “a declaration

from an individual with personal knowledge” addressing : (1) Cristian’s current physical location

and custodial status; (2) what steps, if any, Defendants have taken to facilitate Cristian’s return to

the United States; and (3) what additional steps Defendants will take, and when, to facilitate

Cristian’s return.” See ECF No. 280. Defendants submit the Declaration of Acting Assistant

Director Mellissa B. Harper, attached to this filing as Exhibit A.



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Dated: May 27, 2025                Respectfully submitted,


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                                    Civil Division

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                                    Director
                                    Office of Immigration Litigation

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                                    /s/Richard Ingebretsen
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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 27, 2025, I served a copy of the foregoing on counsel for

Plaintiffs via the Court’s CM/ECF e-filing system.

                                                     /s/ Richard Ingebretsen
                                                     Richard Ingebretsen
                                                     Trial Attorney
                                                     United States Department of Justice
                                                     Civil Division
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                                                     Attorney for Defendants




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